             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                             CIVIL NO. 1:06CV24
                                 (1:04CR24)


ANNA LOU BARKER,                           )
                                           )
                  Petitioner,              )
                                           )
            vs.                            )     MEMORANDUM AND
                                           )        ORDER
UNITED STATES OF AMERICA,                  )
                                           )
              Respondent.                  )
______________________________             )


      THIS MATTER is before the Court on Petitioner’s motion to vacate,

set aside or correct sentence pursuant to 28 U.S.C. § 2255 and the two

addendums to the motion filed March 27, 2006, and June 30, 2006,

respectively. No response is necessary from the Government.



                         I. STANDARD OF REVIEW

      A prisoner in federal custody may attack her conviction and sentence

on the ground that it is in violation of the Constitution or United States law,

was imposed without jurisdiction, exceeds the maximum penalty, or is

otherwise subject to collateral attack. 28 U.S. C. § 2255. However,


     Case 1:04-cr-00024-MR      Document 137   Filed 08/16/07   Page 1 of 14
                                      2

      [i]f it plainly appears from the face of the motion and any
      annexed exhibits and the prior proceedings in the case that the
      movant is not entitled to relief in the district court, the judge
      shall make an order for its summary dismissal and cause the
      movant to be notified.

Rule 4, Rules Governing Section 2255 Proceedings for the United

States District Courts. The Court, having reviewed the record of criminal

proceedings, enters summary dismissal for the reasons stated herein.



                       II. PROCEDURAL HISTORY

      On April 5, 2004, the Petitioner and four other individuals were

charged with conspiring to possess with intent to distribute at least five

kilograms of a mixture or substance containing a detectable amount of

cocaine and less than 50 kilograms of a mixture or substance containing a

detectable amount of marijuana, all in violation of 21 U.S.C. §§ 841 and

846. Bill of Indictment, filed April 5, 2004. On June 22, 2004, Petitioner

entered into a written plea agreement with the Government wherein she

agreed to plead guilty to the single charge set forth in the indictment. Plea

Agreement, filed June 25, 2004. With respect to the offense conduct, the

parties stipulated that the amount of cocaine that was known to or

reasonably foreseeable by Petitioner was “at least 3.5 kilograms but less



     Case 1:04-cr-00024-MR    Document 137     Filed 08/16/07   Page 2 of 14
                                        3

than 5 kilograms.” Id. at 2. Also, by the terms of the plea agreement,

Petitioner expressly waived her right to directly appeal her conviction or

sentence, or to collaterally attack those matters on any grounds other than

ineffective assistance of counsel and/or prosecutorial misconduct. Id. at 4-

5. Petitioner further agreed that if requested by the Government to do so,

she would provide truthful information about the subject charges and about

any other criminal activity which was within her knowledge. Id. at 5.

      On June 30, 2004, Petitioner appeared before the Court for a Rule

11 Hearing. Rule 11 Inquiry and Order Of Acceptance Of Plea, filed

June 30, 2004. At that hearing, the Magistrate Judge placed Petitioner

under oath and then engaged her in a lengthy colloquy to ensure that her

guilty plea was intelligently and voluntarily tendered. Id. In response to the

Court’s numerous questions, Petitioner reported that she was not under

the influence of any illicit drugs or alcohol. Id. at 2. Petitioner further

explained that she was taking prescribed medications for diabetes, high

cholesterol and high blood pressure, but did not believe these prescribed

medications were affecting her understanding or judgment. Id.

      Petitioner also informed the Court that she had completed two and a

half years of college, had obtained her CNA-2 designation, was certified



     Case 1:04-cr-00024-MR     Document 137     Filed 08/16/07   Page 3 of 14
                                        4

with H&R Block as a tax preparer, and was certified as a broker. Id.

Petitioner also told the Court that her mind was clear about the guilty plea

proceeding. Id.

      Next, Petitioner told the Court that she and her attorney had reviewed

the charge which she was facing. Id. at 3. In addition, Petitioner stated

she understood the elements of the crime charged and the corresponding

penalties. She stated she understood her right to persist in her plea of “not

guilty,” at which time the Government would have been required to prove

all of the elements of the offense beyond a reasonable doubt; she would

have been entitled to a jury trial and afforded the assistance of counsel, a

right to confront the witnesses against her, a right to testify, and a right to

cross-examine those witnesses. Id. at 4-5. Petitioner also indicated that

she understood that by tendering her guilty plea, she was giving up those

and certain other rights. Id. at 5.

      Further, Petitioner stated she understood that once her guilty plea

was entered, it could not later be withdrawn; that she was entering her

guilty plea because she was, in fact, guilty of the offense charged; that her

guilty plea was being voluntarily tendered; that no one had threatened or

coerced her into entering a guilty plea, nor had she been made any



     Case 1:04-cr-00024-MR     Document 137     Filed 08/16/07   Page 4 of 14
                                       5

promises beyond those set forth in her plea agreement; that she and

counsel had discussed possible defenses she might have had to the

charge; that she and counsel had discussed how the Sentencing

Guidelines might affect her case; and that her guilty plea was being

tendered as a result of those discussions with counsel. Id. at 3, 5-8.

      Furthermore, Petitioner stated to the Court that she agreed with the

terms of her plea agreement and that she understood and accepted the

limitations on her appellate rights as set forth in that agreement. Id. at 7.

Petitioner also told the Court that she fully was satisfied with the services

of her attorney and did not have any questions for the Court. Id. at 6, 8.

After hearing Petitioner’s answers to the questions of the Rule 11 inquiry,

the Magistrate Judge found that Petitioner’s plea was knowingly and

voluntarily entered and made and accepted her guilty plea. Id. at 8-9.

      On January 31, 2005, the Government filed a motion for a downward

departure pursuant to 18 U.S.C. § 3553(e) based upon Petitioner’s

substantial assistance and requested a two-level decrease in Petitioner’s

offense level from 27 to 25. Based upon a Criminal History Category IV,

the proposed reduction had the effect of reducing her exposure from a

range of 151 to 188 months imprisonment to 84 to 105 months



     Case 1:04-cr-00024-MR    Document 137     Filed 08/16/07   Page 5 of 14
                                       6

imprisonment. Motion for a Downward Departure, filed January 31,

2005.

        On February 2, 2005, Petitioner filed a waiver with the Court

acknowledging that the U.S. Supreme Court recently had determined the

U.S. Sentencing Guidelines to be advisory, not mandatory, pursuant to

United States v. Booker, 543 U.S. 220 (2005). Waiver, filed February 2,

2005. Pursuant to the Waiver, the Petitioner elected to have the Court

consult the Guidelines and calculate her sentence in accordance thereto,

allowing the Court to determine her offense level under the “preponderance

of the evidence” standard. Id. at 2-3. The Waiver expressly noted that the

Court’s calculations could be based upon “any reliable evidence, including

hearsay evidence.” Id. at 3.

        On February 3, 2005, Petitioner appeared before the undersigned for

sentencing. The Government and the Petitioner stipulated to the factual

basis supporting her guilty plea. Counsel for the Government requested

the Court grant the motion for downward departure and sentence Petitioner

within the recommended Guidelines range. After hearing from counsel for

the Government and for the Petitioner, the Court sentenced her to 84

months imprisonment. Judgment in a Criminal Case, filed February 15,



     Case 1:04-cr-00024-MR     Document 137    Filed 08/16/07   Page 6 of 14
                                       7

2005. Petitioner did not appeal her conviction or sentence; therefore, her

judgment became final ten days later. United States v. Wilson, 256 F.3d

217, 221 (4th Cir. 2001). This motion was filed February 2, 2006, and is

timely filed.



                              III. DISCUSSION

      Petitioner alleges that she received ineffective assistance of counsel

in that counsel: (1) failed to advise her of the consequences of her Plea

Agreement and her substantial assistance to the Government; (2) failed to

“discuss the Fifth Amendment violation [of] self-incrimination”; (3) failed to

“protect[]” her during the negotiations for her guilty plea; (4) failed to “make

every effort that [she] received a binding Plea Agreement under FRCP

119(1)(c) for the personal damage [she] has placed herself in upon her

releace [sic] from her present incarceration”; (5) failed to “obtain a

sentence that reflected [her] assistance”; (6) failed to “investigate the

circumstances of [her] involvement, and any mitigating facts of that

involvement”; and (7) failed to “subject the government to a meaningful

adversarial challenge during the sentencing hearing for the two (2) point

downward depart[ure] [.]” Motion to Vacate, Attachment, at 1-2.



      Case 1:04-cr-00024-MR    Document 137    Filed 08/16/07   Page 7 of 14
                                       8

      By her second and third claims, Petitioner alleges that her due

process and equal protection rights under the Fifth and Fourteenth

Amendments were violated. By her last claim, Petitioner argues that the

Court lacked personal jurisdiction over her. However, Petitioner did not file

an appeal in which her last three claims could have been directly reviewed.

      “In order to collaterally attack a conviction or sentence based upon

errors that could have been but were not pursued on direct appeal, the

movant must show cause and actual prejudice resulting from the errors of

which [she] complains[,] or [she] must demonstrate that a miscarriage of

justice would result from the refusal of the court to entertain the collateral

attack.” United States v. Mikalajunas, 186 F.3d 490, 492-93 (4th Cir.

1999) (citing United States v. Frady, 456 U.S. 152, 167-68 (1982)); see

also, Bousley v. United States, 523 U.S. 614, 621 (1998) (failure to

challenge a matter on direct appeal, absent certain compelling

circumstances, bars collateral review of same); Stone v. Powell, 428

U.S. 465, 477 n.10 (1976).

      In the instant case, Petitioner does not mention, or otherwise attempt

to explain the absence of an appeal. Nor does Petitioner attempt to

establish a basis upon which her procedural default conceivably could be



     Case 1:04-cr-00024-MR     Document 137    Filed 08/16/07   Page 8 of 14
                                       9

excused by the Court. Therefore, the Court finds that Petitioner’s three

non-counsel related claims have been procedurally defaulted, and she is

not entitled to a review of the merits of those matters.1

      Petitioner’s only cognizable claim is the alleged ineffective assistance

of her attorney. This claim, however, fails for several critical reasons.

      When alleging a claim of ineffective assistance of counsel, a

petitioner must show that counsel's performance was constitutionally

deficient to the extent it fell below an objective standard of reasonableness,

and that she was prejudiced thereby. Strickland v. Washington, 466 U.S.

668, 687-91 (1984). In making this determination, there is a strong

presumption that counsel's conduct was within the wide range of

reasonable professional assistance. Id. at 689; see also, Fields v.

Attorney Gen. of Md., 956 F.2d 1290, 1297-99 (4th Cir. 1985); Hutchins

v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir. 1983); Marzullo v.

Maryland, 561 F.2d 540 (4th Cir. 1977).




      1
        Even if these claims were not procedurally defaulted, Petitioner still
would not be entitled to any review. By the terms of her Plea Agreement,
Petitioner waived her right to obtain collateral review for claims such as
these, and the record establishes that her waiver is fully enforceable. See
United States v. General, 278 F.3d 389, 400 (4th Cir. 2002).


     Case 1:04-cr-00024-MR    Document 137     Filed 08/16/07   Page 9 of 14
                                      10

      To demonstrate prejudice, Petitioner must show a probability that the

alleged errors worked to her “‘actual and substantial disadvantage,

infecting [her] trial with error of constitutional dimensions.’” Murray v.

Carrier, 477 U.S. 478, 494 (1986) (quoting Frady, supra, at 166). Under

these circumstances, Petitioner “bears the burden of proving Strickland

prejudice.” Fields, 956 F.2d at 1297 (citing Hutchins, supra). Therefore,

if Petitioner fails to meet this burden, a “reviewing court need not consider

the performance prong.” Id. (citing Strickland, supra, at 697).

      A petitioner who alleges ineffective assistance of counsel following

the entry of a guilty plea must meet an even higher burden. See, Hill v.

Lockhart, 474 U.S. 52, 53-59 (1985); Fields, supra, at 1294-99; Hooper

v. Garraghty, 845 F.2d 471, 475 (4th Cir. 1988). The Fourth Circuit

described a petitioner’s additional burden in a post-guilty plea claim of

ineffective assistance of counsel as follows:

    When a [petitioner] challenges a conviction entered after a
    guilty plea, [the] “prejudice” prong of the [Strickland] test is
    slightly modified. [The petitioner] “must show that there is a
    reasonable probability that, but for counsel’s errors, [she] would
    not have pleaded guilty and would have insisted on going to
    trial.”
Hooper, supra, at 475 (quoting Hill, supra, at 59); accord Fields, supra

at 1297.



     Case 1:04-cr-00024-MR    Document 137    Filed 08/16/07   Page 10 of 14
                                      11

      In evaluating a post-guilty plea claim of ineffective assistance of

counsel, statements previously made under oath affirming satisfaction with

counsel, such as those made by Petitioner here at the Rule 11 hearing, are

binding absent “clear and convincing evidence to the contrary[.]” Fields, at

1299, (citing Blackledge v. Allison, 431 U.S. 63, 74-75 (1977)); accord

United States v. Lemaster, 403 F.3d 216, 220-23 (4th Cir. 2005)

(affirming summary dismissal of § 2255 motion, including ineffective

assistance claim, noting inconsistent statements made during Rule

11 hearing).

      Applying the foregoing principles to Petitioner’s allegations against

counsel, it is apparent that she cannot prevail in this matter. Indeed, it has

not escaped the Court’s attention that Petitioner does not assert that but

for counsel’s alleged ineffectiveness, she would have pled not guilty and

insisted upon going to trial. Thus, notwithstanding any other matters,

Petitioner’s claim against counsel is doomed by that failure.

      Concerning the first alleged failure of counsel, Petitioner has failed

specifically to identify what additional matters counsel should have

explained to her with regard to her Plea Agreement and her protection




     Case 1:04-cr-00024-MR   Document 137     Filed 08/16/07   Page 11 of 14
                                      12

against self-incrimination. It goes without saying, therefore, that she

cannot prevail on that allegation.

      Moreover, the record of the proceedings in this case, including the

answers provided by Petitioner during her Rule 11 hearing, stand in stark

conflict with the post-judgment, self-serving allegations she now raises.

Turning to those answers, Petitioner’s declarations tend to establish that

she understood the terms of her plea agreement, she was fully aware of

the consequences of that agreement, and understood her right to be free

from self-incrimination. Petitioner’s answers also tend to establish that she

understood her right to a jury trial, and her decision to plead guilty was the

result of discussions with her attorney. Such sworn statements simply

cannot be set aside merely on the basis of Petitioner’s belated assertions

to the contrary.

      Similarly, Petitioner’s other conclusory assertions – that counsel

failed to protect her during plea negotiations, failed to ensure that she

received a “binding” plea agreement,” failed to obtain a sentence that

reflected her assistance to the Government, failed to investigate the

circumstances of her involvement and any mitigating circumstances, and

failed to challenge the Government’s request for a two-point reduction in



     Case 1:04-cr-00024-MR    Document 137    Filed 08/16/07   Page 12 of 14
                                       13

her offense level – are equally unavailing. On the contrary, the record

clearly reflects that as a result of defense counsel’s efforts, Petitioner

received a plea agreement which included provisions for a reduced

sentence in exchange for her substantial assistance. Once Petitioner

provided that assistance, the Government fulfilled its obligation and

secured a considerable reduction on her behalf.

      The benefit Petitioner received as a result of the motion for

downward departure, coupled with the representations which defense

counsel made at sentencing, resulted in her receiving a sentence at the

lowest point of the Guideline range, rather than one within the original

range of 151 to 188 months imprisonment. Thus, Petitioner cannot

possibly demonstrate any prejudice, let alone deficient performance of her

attorney, in connection with those assertions. In sum, Petitioner has failed

to show why the Court should disregard her earlier sworn representations

or her dual expressions of appreciation for and satisfaction with counsel’s

services. Petitioner is not entitled to any relief on her claims because three

of them have been procedurally defaulted and the other is both factually

and legally baseless. Therefore, Petitioner’s motion must be denied and

summarily dismissed.



     Case 1:04-cr-00024-MR    Document 137     Filed 08/16/07   Page 13 of 14
                                    14

                               IV. ORDER

     IT IS, THEREFORE, ORDERED that the Petitioner’s motion to

vacate, set aside or correct judgment pursuant to 28 U.S.C. § 2255 is

DENIED. A Judgment dismissing this action is filed herewith.



                                    Signed: August 14, 2007




    Case 1:04-cr-00024-MR   Document 137   Filed 08/16/07     Page 14 of 14
